Winston & Strawn LLP

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San Francisco, CA 94111-5802

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

In re: CATHODE RAY TUBE (CRT) CASE No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

APPLICATION FOR ADMISSION OF
ATTORNEY PRO HAC VICE

This Document Relates to:

ALL ACTIONS
(CIVIL LOCAL RULE 11-3)

I, Martin C. Geagan, Esq., an active member in good standing of the bar of New York, hereby
respectfully apply for admission to practice pro hac vice in the Northern District of California
representing; Panasonic Corporation, Panasonic Corporation of North America, and MT Picture
Display Co., Ltd., in the above-entitled action. My local co-counsel in this case is Aldo Badini
Esq., an attorney who is a member of the bar of this Court in good standing and who maintains an
office within the State of California.

My ADDRESS OF RECORD: LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
WINSTON & STRAWN LLP WINSTON & STRAWN LLP

200 PARK AVENUE 3300 HILLVIEW AVENUE

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My TELEPHONE # OF RECORD: LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
(212) 294-4615 (650) 858-6424

MY EMAIL ADDRESS OF RECORD: LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
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I am an active member in good standing of a United States Court or of the highest court of
another State or the District of Columbia, as indicated above; my bar number is: 3899838

A true and correct copy of a certificate of good standing or equivalent official document from
said bar is attached to this application.

I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

I declare under penalty of perjury that the foregoing is true and correct.

Date: July 23, 2014 COO, Dio
APPLICANT

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE

IT IS HEREBY ORDERED THAT the application of Martin C. Geagan is granted, subject to the terms
and conditions of California L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac
vice. Service of papers upon, and communication with, local co-counsel designated in the application will
constitute notice to the party.

Dated:

UNITED STATES DISTRICT JUDGE

PRO HAC VICE APPLICATION & ORDER

